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 1   DANIEL J. BRODERICK, Bar# 89424
     Federal Defender
 2   LEXI NEGIN, Bar# 250376
     Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone (916) 498-5700

 5   Attorney for Defendant
     DEANDRE LAMAR DOSTY
 6
 7
 8                        IN THE UNITED STATES DISTRICT COURT
 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,   )
                                 )         CR.S-09-500 FCD
12                Plaintiff,     )
                                 )         STIPULATION AND ORDER TO
13           v.                  )         CONTINUE STATUS HEARING
                                 )
14   DEANDRE LAMAR DOSTY,        )         DATE: March 22, 2010
     RAE LEONARD YOUNG,          )         TIME: 10:00 a.m.
15                               )         JUDGE: Frank C. Damrell, Jr.
                  Defendants.    )
16                               )
     ___________________________ )
17
18      It is hereby stipulated and agreed to between the United States of
19   America through JASON HITT, Assistant U.S. Attorney, and defendants,
20   DEANDRE LAMAR DOSTY by and through his counsel, LEXI NEGIN, Assistant
21   Federal Defender, and RAE LEONARD YOUNG by and through his counsel,
22   WILLIAM E. BONHAM, that the status conference set for January 19, 2010,
23   be continued to Monday, March 22, 2010, at 10:00 a.m.            The reason for
24   this continuance is to allow defense counsel additional time to review
25   discovery with the defendants, to examine possible defenses, and to
26   continue investigating the facts of the case.
27   / / /
28   / / /
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 1      It is further stipulated that the time period from the date of this
 2   stipulation, January 13, 2010, through and including the date of the
 3   new status conference hearing, March 22, 2010, shall be excluded from
 4   computation of time within which the trial of this matter must be
 5   commenced under the Speedy Trial Act, pursuant to 18 U.S.C. §§ 3161
 6   (h)(7)(A)&(B)(iv)and Local Code T4 [reasonable time for defense counsel
 7   to prepare].
 8
 9   DATED: January 13, 2010        Respectfully submitted,
                                    DANIEL J. BRODERICK
10                                  Federal Defender
11                                  /s/ Lexi Negin
                                    LEXI NEGIN
12                                  Assistant Federal Defender
                                    Attorney for Defendant
13                                  DEANDRE LAMAR DOSTY
14
     DATED: January 13, 2010        /s/ Lexi Negin for
15                                  WILLIAM E. BONHAM
                                    Attorney for Defendant
16                                  RAE LEONARD YOUNG
17
18   DATED: January 13, 2010        BENJAMIN B. WAGNER
                                    United States Attorney
19
                                    /s/ Lexi Negin for
20                                  JASON HITT
                                    Assistant U.S. Attorney
21                                  Attorney for Plaintiff
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 2                                  O R D E R
 3
 4      IT IS SO ORDERED.    Time is excluded from today’s date through and
 5   including March 22, 2010, in the interests of justice pursuant to 18
 6   U.S.C. §3161(h)(7)(A)&(B)(iv) [reasonable time to prepare] and Local
 7   Code T4.
 8
 9   DATED: January 14, 2010
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11
                                          FRANK C. DAMRELL, JR.
12                                        UNITED STATES DISTRICT JUDGE
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